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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTJUCT OF OHIO


                                                   )
   EQUAL EMPLOYMENT                                )
   OPPORTUNITY COMMISSION,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
          v.                                      )     Case Number: 2:13-CV -00780
                                                  )
   OHIOHEALTH CORPORATION,                              .Judge: Gregory L. Frost
                                                  )
                                                  )
                      Defendant.                        Magistrate Judge: Norah McCann King
                                                  )

                        DEFENDANT OmOHEALTH CORPORATION'S
                           RULE 26(A)(1) INITIAL DISCLOSURES

          Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Defendant OhioHealth

  Corporation ("OhioHealth" or "Defendant") makes the following initial disclosures to be

  supplemented as discovery proceeds. Ohio Health makes the following disclosures subject to,

  and without waiving, its right to protect from disclosure: (a) all communications protected by the

  attorney-client privilege; and (b) all documents protected by the attorney work product doctrine.

  Subject to and without waiving the foregoing objections, OhioHealth makes the following

  disclosures pursuant to Rule 26( a)( 1).




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           A.     Rule 26(a)(l)(A)(i). The name and, if known, the address and telephone
   number of each individual likely to havc discoverable information-along with the subjects
   of that information-that the disclosing party may use to support its claims or defenses,
   unless the use would be solcly for impeachment.

          The following individuals may have discoverable information.      With respect to each

  current and former employee of OhioHealth, contact should be made with such individuals

  through OhioHealth's attomeys.

                 1.       Laura Stone.   Ms. Stone is likely to have discovemble infOlmation

  regarding the allegations in the Complaint filed by Plaintiff against OhioHealth as well as her

  alleged damages. Ms. Stone's contact information is known to Plaintiff.

                 2.       Nancy Miller. Ms. Miller is a Workplace Accommodations Specialist and

  is likely to have discoverable information regarding OhioHealth's efforts to accommodate Ms.

  Stone, Ms. Stone's medical leave of absence, and positions at OhioHealth that were

  recommended to Ms. Stone following her request that she be placed in a vacant day shift

  position. Ms. Miller is employed at Riverside Methodist Hospital, 3545 Olentangy River Road,

  Suite 430, Columbus, Ohio 43214 and her telephone number is 614-566-4246. She should be

  contacted through counsel for OhioHealth.

                 3.      Rose Cacioppo. Ms. Cacioppo is an Associate Health and Wellness Case

  Manager and    IS   likely to have discoverable information regarding OhioHealth's efforts in

  October 2009 to locate a new position for Ms. Stone. Ms. Cacioppo is employed at Riverside

  Methodist Hospital, 3545 Olentangy River Road, Suite 425, Columbus, Ohio, 43214 and her

  telephone number is 614-566-3747. She should be contacted through counsel for OhioHealth.

                4.       Kathy Sipes.    Ms. Sipes is an Associate Health and Wellness Case

  Manager and is likely to have discoverable information regarding OhioHealth's efforts beginning

  in August 2009 to locate a new position for Ms. Stone. Ms. Sipes is employed at Riverside


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   Methodist Hospital, Suite 425, Columbus, Ohio 43214 and her telephone number is 614-566-

   5218. She should be contacted through counsel for OhioHealth.

                  5.     EmmaLee Ponzio.      Ms. Ponzio was a ReclUiter and is likely to have

   discoverable information regarding Ms. Stone's application to a Clinical Receptionist position in

   October 2009, Ms. Stone's application to a Scheduling Coordinator position in October 2009,

  and information regarding the individual who was selected to fill the Clinical Receptionist anellor

  Scheduling Coordinator position. Ms. Ponzio, currently the Manager of Talent Acquisition, is

  employed at OhioHealth Human Resources, 550 Thomas Lane, Columbus, Ohio 43214 and her

  telephone number is 614-566-2665. She should be contacted through counsel for OhioHealth.

                 6.      Melissa Wolford.    Ms. Wolford was a Recruiter and is likely to have

  discoverable information regarding Ms. Stone's application to a Patient Support Assistant

  position in July 2009, and information regarding the individual who was selected to fill the

  Patient Support Assistant position. Ms. Wolford, cUlTently a Human Resources Generalist, is

  employed at OhioHealth Homecare, 404 East Wilson Bridge Road, Worthington, Ohio 43085

  and her telephone number is 614-566-0812.           She should be contacted through counsel for

  OhioHealth.

                 7.     Tonya Clark. Ms. Clark was a ReclUiter and is likely to have discoverable

  information regarding Ms. Stone's application to an Administrative Services Coordinator

  position in October 2009, Ms. Stone's application to a Senior Medical Records Associate

  position in November 2009, and information regarding the individual who was selected to fill the

  Administrative Services Coordinator anellor Senior Medical Records Associate position. Ms.

  Clark is employed at Doctors Hospital, 5100 West Broad Street, Columbus, Ohio 43228, and her

  telephone number is 614-544-2219. She should be contacted tlU'ough counsel for OhioHealth.



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                 8.     Arnie Sorge. Ms. Sorge was a Recruiter and is likely to have discoverable

   information regarding Ms. Stone's application to a Patient Support Assistant position in

  November 2009, Ms. Stone's application to a Patient Support Assistant position in December

  2009, and information regarding the individual who was selected to fill the Patient Support

  Assistant positions. Ms. Sorge is employed at Grant Medical Center, 111 South Grant Avenue,

  Columbus, Ohio 43215, and her telephone number is 61-566-9229.          She should be contacted

  through counsel for OhioHealth.

                 9.     Celeste Thieman. Ms; Thieman is likely to have discoverable information

  regarding Ms. Stone's application to a Clinical Receptionist position in October 2009, Ms.

  Stone's application to a Scheduling Coordinator position in October 2009, information regarding

  the individual selected to fill the Clinical Receptionist and/or Scheduling Coordinator position,

  and the reasons why Ms. Stone was not selected for the position. Ms. Thieman is employed at

  OhioHealth Physicians Group, 180 East Broad Street, Columbus, Ohio 43215, and her telephone

  number is 614-578-2146. She should be contacted through counsel for OhioHealth.

                 10.    Kerrie Huston. Ms. Huston is likely to have discoverable information

  regarding the availability of a vacant position at Grady Memorial Hospital in December 2009,

  and OhioHealth's efforts to recommend Ms. Stone for the position. Ms. Huston is employed at

  Grady Memorial Hospital, 561 West Central Avenue, Delaware, Ohio 43015 and her telephone

  number is 740-615-1292. She should be contacted through counsel for OhioHealth.

                11.     Amiel Mansur. Mr. Mansur is likely to have discoverable information

  regarding the availability of an internship at the McConnell Heat Health Center Spine and Joint

  Clinic, the consideration of Ms. Stone for the internship, information regarding the individual

  who was selected for the internship, and the reasons why Ms. Stone was not selected for the



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                 3.      Ms. Stone's medical records, which are maintained by Dr. Stock.

                 4.      Documents related to Ms. Stone's request to OhioHealth on or about

   August 31, 2009 that she transfer to the day shift, which are maintained by OhioHealth's

  Associate Health and Wellness Department.

                 5.      Job po stings for vacant positions between July 2009 and Ms. Stone's

  termination, which are maintained by OhioHealth's Human Resources Department.

                 6.     Job postings for the following positions applied to by Ms. Stone between

  July 2009 and Ms. Stone's termination: three Patient Support Assistant positions at Riverside

  Methodist Hospital; a Clinical Receptionist position at Riverside Methodist Hospital; a

  Scheduling Coordinator position at Riverside Methodist Hospital; an Administrative Services

  Coordinator position at OhioHealth's Corporate Offices; and, a Senior Medical Records

  Associate position at Riverside Methodist Hospital.       All job postings are maintained by

  OhioHealth's Human Resources Department.

                 7.     Ms. Stone's applications for the following positions she applied to

  between July 2009 and Ms. Stone's termination: three Patient Support Assistant positions at

  Riverside Methodist Hospital; a Clinical Receptionist position at Riverside Methodist Hospital; a

  Scheduling Coordinator position at Riverside Methodist Hospital; an Administrative Services

  Coordinator position at OhioHealth's Corporate Offices; and, a Senior Medical Records

  Associate position at Riverside Methodist Hospital.        All applications are maintained by

  OhioHealth's Human Resources Department.

                8.      Documents related to the cancellation of the Clinical Receptionist position

  at Riverside Methodist Hospital that Ms. Stone applied to, which are maintained by

  OhioHealth's Human Resources Department.



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